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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA

 IN RE BANC OF CALIFORNIA                        Case No. 0:18-mc-00076
 SECURITIES LITIGATION
                                                 CASE NO. SACV 17-00118 AG (DFMx)
                                                 consolidated with
                                                 SACV 17-00138 AG (DFMx)
                                                 Pending in the Central District of California

 TO:    District Clerk of Court and Counsel of Record.

        PLEASE TAKE NOTICE that Jordan L. Weber of Briggs and Morgan, P.A., 2200 IDS

 Center, 80 South Eighth Street, Minneapolis, Minnesota 55402, hereby appears as counsel of

 record for Respondents Castalian Partners Value Fund LP and James Gibson.


 Dated: October 22, 2018                         BRIGGS AND MORGAN, P.A.

                                                 By:     s/ Jordan L. Weber
                                                      Charles B. Rogers (#130588)
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                                                 Castalian Partners Value Fund LP
                                                 and James Gibson
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 22nd day of October, 2018, I caused to be

 electronically filed the foregoing Notice of Appearance of Jordan L. Weber with the Clerk of

 Court through the CM/ECF system. Notice of this filing will be sent to all parties by operation

 of the Court’s electronic filing systems. Parties may access the filings through the Court’s

 CM/ECF system.

                                            s/ Jordan L. Weber
                                            Jordan L. Weber
